           Case 8:22-cr-00440-PX Document 57 Filed 07/10/23 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

                 v.                                    CASE NO: PX-22-440

 NADER POURHASSAN and
 KAZEM KAZEMPOUR,

               Defendants.


       Having considered the grounds advanced in the Government’s Motion to Exclude Time

Under the Speedy Trial Act, and good cause having been shown in support of the relief requested
                                    10th
by this motion, the Court, on this ____ day of July, 2023, hereby makes the following findings of

fact: the Court finds that the ends of justice served by granting the requested continuance in this

matter outweigh the best interest of the public and the defendant in a speedy trial, inasmuch as the

parties need a longer period than is normally afforded under the federal Speedy Trial Act for

conduct of plea discussions and pre-trial preparation in the event that no agreement is reached

upon a plea.

       THEREFORE, IT IS HEREBY ORDERED that the requested motion is GRANTED; and

it is further ORDERED that for the reasons set forth in the government’s motion, all time between

May 23, 2023 and March 25, 2024, shall be excluded from calculations of the amount of time that

has expired under the Speedy Trial Act, 18 U.S.C. § 3161, in this case.



                                                              /S/
                                                     _______________________
                                                     Hon. Paula Xinis
                                                     United States District Judge




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